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                                                                 [Doc. No.     ]

                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

 STRIKE 3 HOLDINGS, LLC,       :
                               :
                Plaintiff,     :
                               :
      v.                       :            Civil No. 19-00895 (NLH/JS)
                               :
 JOHN DOE SUBSCRIBER ASSIGNED :
 IP ADDRESS 76.116.95.148,     :
                               :
                Defendant.     :
 ______________________________:

                                   O R D E R

       This matter is before the Court on a remand from the District

 Court for entry of a Protective order, pursuant to Fed. R. Civ. P.

 26(c), to address the “balancing on the one hand the public’s right

 of access to court proceedings and on the other hand any legitimate

 privacy interests to be identified by the court.”             The Court held

 a conference call with counsel for plaintiff, Strike 3 Holdings,

 LLC, on July 22, 2020 to discuss how plaintiff proposes to proceed

 in these matters.

       The Third Circuit has recognized a “presumptive right of

 public access to pretrial motions of a nondiscovery nature, whether

 preliminary or dispositive, and the material filed in connection

 therewith.”    Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998

 F.2d 157, 164 (3d Cir. 1993).              However, although there is a

 presumptive right of public access to judicial proceedings and

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 records, district courts have recognized that such right is not

 absolute; and further, that the presumption may be rebutted.                 In

 re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001).

       To overcome the presumption of openness, and to justify the

 entry   of    an     order   sealing   judicial    records,    requires     the

 demonstration of two elements:          (1) a substantial and compelling

 interest in confidentiality; and (2) that divulgence would work a

 clearly defined and serious injury to the party seeking non-

 disclosure.    Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d

 Cir. 1994).        Once these elements are established, the Court must

 engage in a balancing process, weighing the common law presumption

 of access against those factors that militate against access.                In

 re Cendant Corp., 260 F.3d at 194; see also Republic of Philippines

 v. Westinghouse Elec. Corp., 949 F.3d 653, 662 (3d Cir. 1991) (a

 presumption of access alone does not end the court’s inquiry as

 the right to access judicial records is not absolute; indeed, a

 “presumption is just that” and may therefore be rebutted).

       On September 30, 2016, the United States District Court for

 the District of New Jersey adopted Local Civil Rule 5.3, entitled

 “CONFIDENTIALITY       ORDERS   AND    RESTRICTING    PUBLIC   ACCESS     UNDER

 CM/ECF,” which sets forth the relevant procedural rules for filing

 documents under temporary seal by parties and which empowers the

 Court to permanently seal documents.



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       Fed. R. Civ. P. 26(c) provides, in relevant part, that a court

 may “for good cause shown, issue an order to protect a party or

 person from annoyance, embarrassment, oppression, or undue burden

 or expense[.]”

       Plaintiff Strike 3 Holdings, LLC has consented to the entry

 of this Protective Order.

       Accordingly, for the reasons set forth by the District Court,

 and for the foregoing reasons,

       IT IS HEREBY ORDERED this ___ day of July 2020 that plaintiff

 shall   not    publicly   disclose    any    information      identifying    the

 defendant and/or any person associated with the defendant or IP

 address, including, but not limited to, alleged social media

 evidence      and   alleged    BitTorrent         activity,   absent     express

 permission by this Court; and it is further

       ORDERED that plaintiff shall attach a copy of this Order along

 with the attached “Notice to Defendant” and “Anonymous Pro Se

 Defendant     Information”    form   to     any    ISP   subpoena   or   Amended

 Complaint served in this matter; and it is further

       ORDERED that, in the event the defendant elects to (1) proceed

 anonymously, (2) files a motion to quash or otherwise modify the

 subpoena on the ISP, and (3) files an Anonymous Pro Se Defendant

 Form, the Clerk of the Court shall not file the Anonymous Pro Se

 Defendant Information form on the public docket, but shall file

 that information under temporary seal until otherwise ordered by

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 the Court.       The Clerk shall file a redacted version of the

 Anonymous Pro Se Defendant Information form on the public docket,

 removing all information entered by the defendant; and it is

 further

       ORDERED    that    plaintiff     is    prohibited    from   initiating,

 directly    or   indirectly,     any    settlement      communications     with

 defendant (or any person associated with defendant or the IP

 address), unless (1) that party is represented by counsel and (2)

 their counsel initiates settlement discussions.                On request of

 plaintiff or an unrepresented party, submitted to the Court at any

 time, settlement shall be conducted under supervision of the Court.

 This paragraph shall not prevent plaintiff from responding to a

 request for settlement communications from a represented party,

 and the parties may engage in settlement negotiations without court

 supervision if both are represented by counsel; and it is further

       ORDERED that plaintiff shall only identity defendant, and/or

 any person associated with defendant or the IP address, with an

 appropriate “Doe” pseudonym in the captions of amended pleading(s)

 and any documents filed publicly with the Court; and it is further

       ORDERED that all documents identifying the defendant and/or

 any person associated with the              defendant   or the IP address,

 including alleged social media evidence and alleged BitTorrent

 activity, shall only be filed in redacted form, with unredacted



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 versions filed under temporary seal, pursuant to L. Civ. R. 5.3(c);

 and it is further

       ORDERED that, unless the parties agree otherwise, plaintiff

 shall    have    primary     responsibility      for    filing    a    single,

 consolidated motion on behalf of all the parties to permanently

 seal documents filed under temporary seal, pursuant to L. Civ. R.

 5.3(c); and it is further

       ORDERED that for purposes of calculating the deadline to file

 a   single   consolidated     motion    on   behalf    of   the   parties    to

 permanently seal the Amended Complaint, Civil Cover Sheet, Proof

 of Service, and/or Waiver of Service in this matter, such motion

 shall be filed within fourteen (14) days of the expiration of the

 deadline to answer, move, or otherwise respond to the Amended

 Complaint; and it is further

       ORDERED that if the defendant (and/or any person associated

 with the defendant or IP address) declines, or does not respond to

 requests, to join in the motion to seal the Amended Complaint,

 Civil Cover Sheet, Proof of Service, and/or Waiver of Service in

 this matter by providing an affidavit, declaration, certification

 or other document of the type referenced in 28 U.S.C. § 1746, based

 on personal knowledge, describing with particularity the factors

 outlined L. Civ. R. 5.3(c)(3), plaintiff shall promptly notify the

 Court and request a determination of whether the documents should

 nevertheless be permanently sealed; and it is further

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       ORDERED that after defendant is served with process (or waives

 service of process), the parties shall meet-and-confer prior to

 the Rule 26(f) conference to discuss submission to the Court of

 (1) a proposed Discovery Confidentiality Order (“DCO”) and (2) a

 proposed Electronically Stored Information (“ESI”) Protocol.                See

 L. Civ. R. 26.1(d); and it is further

       ORDERED for good cause the Court reserves the right to amend

 or supplement this Order.


                                     _____________________________
                                     JOEL SCHNEIDER
                                     United States Magistrate Judge




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                                NOTICE TO DEFENDANT

       1.    You are a defendant in the above-captioned case Strike

 3 Holdings, LLC, v. John Doe                Subscriber Assigned IP Address

 76.116.95.148, Dkt. No. 1:19-cv-00895-NLH-JS, a case now pending

 before the Honorable Noel L. Hillman, U.S.D.J., and Joel Schneider,

 U.S.M.J. of the United States District Court for the District of

 New Jersey, Camden Vicinage.

       2.    A   copy    of   the   Court’s    order   setting   forth   certain

 deadlines and procedures related to this case is attached.

       3.    You may hire a lawyer to represent you in this case or

 you may proceed pro se (that is, you may represent yourself without

 the assistance of a lawyer).            If you choose to proceed pro se,

 please be advised that all communications with the Court should be

 directed through the Clerk of the Court.              A copy of the Court’s

 Procedural      Guide    for     Pro   Se    Litigants   is     available   at:

 https://www.njd.uscourts.gov/sites/njd/files/ProSeGuide.pdf.

 (“Pro Se Guide”).

       4.    The plaintiff in this case has filed a lawsuit claiming

 that you have illegally downloaded and/or distributed movies by

 using an Internet Protocol address (“IP address”) assigned to you

 by your Internet Service Provider (“ISP”).

       5.    The plaintiff may not know your actual name or address,

 but it does know the IP address it alleges is associated with the

 alleged downloading and/or distribution of the movies.

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       6.    Although the Court has permitted plaintiff to serve a

 subpoena on your ISP to ascertain your identity, this does not

 mean that plaintiff has proven its claim against you.

       7.    If you do not want your ISP to provide this information

 to the plaintiff and you believe there is a legal basis for the

 ISP to withhold the information, you may file a motion to “quash”

 or “modify” the subpoena.         This must be done within 30 days of the

 date that you receive notice of the subpoena from your ISP.                      This

 motion must be filed with the Clerk of the Court.                   See L. Civ. R.

 5.2(4); 7.1(d).      You must also serve plaintiff’s counsel with a

 copy of the motion.         See Fed. R. Civ. P. 5.                 The plaintiff’s

 counsel in this matter is registered as an Electronic Case Filing

 (“ECF”) Filing User and, therefore, has consented to receive

 service of all papers via the Court’s ECF System.                   See L. Civ. R.

 5.2(14)(b)(1).       You    may   also       register   to   receive       documents

 concerning    this   case    electronically        using     the    “Pro    Se   (Non

 Prisoner)    Consent    &   Registration        Form    to   Receive       Documents

 Electronically” Form contained in the Pro Se Guide.

       8.    If you move to quash the subpoena, or otherwise move to

 prevent your name from being turned over to the plaintiff, you may

 proceed anonymously at this           time.       Nevertheless, if you are

 representing yourself, you must complete the “Anonymous Pro Se

 Defendant Information” form attached to this notice and file it

 with the Clerk of the Court.             You should not provide a copy of

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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

 STRIKE 3 HOLDINGS, LLC,       :
                               :
                Plaintiff,     :
                               :
      v.                       :            Civil No. 19-00895 (NLH/JS)
                               :
 JOHN DOE SUBSCRIBER ASSIGNED :
 IP ADDRESS 76.116.95.148,     :
                               :
                Defendant.     :
 ______________________________:

                                   O R D E R

       This matter is before the Court on a remand from the District

 Court for entry of a Protective order, pursuant to Fed. R. Civ. P.

 26(c), to address the “balancing on the one hand the public’s right

 of access to court proceedings and on the other hand any legitimate

 privacy interests to be identified by the court.”             The Court held

 a conference call with counsel for plaintiff, Strike 3 Holdings,

 LLC, on July 22, 2020 to discuss how plaintiff proposes to proceed

 in these matters.

       The Third Circuit has recognized a “presumptive right of

 public access to pretrial motions of a nondiscovery nature, whether

 preliminary or dispositive, and the material filed in connection

 therewith.”    Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998

 F.2d 157, 164 (3d Cir. 1993).              However, although there is a

 presumptive right of public access to judicial proceedings and

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 records, district courts have recognized that such right is not

 absolute; and further, that the presumption may be rebutted.                 In

 re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001).

       To overcome the presumption of openness, and to justify the

 entry   of    an     order   sealing   judicial   records,     requires    the

 demonstration of two elements:          (1) a substantial and compelling

 interest in confidentiality; and (2) that divulgence would work a

 clearly defined and serious injury to the party seeking non-

 disclosure.    Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d

 Cir. 1994).        Once these elements are established, the Court must

 engage in a balancing process, weighing the common law presumption

 of access against those factors that militate against access.               In

 re Cendant Corp., 260 F.3d at 194; see also Republic of Philippines

 v. Westinghouse Elec. Corp., 949 F.3d 653, 662 (3d Cir. 1991) (a

 presumption of access alone does not end the court’s inquiry as

 the right to access judicial records is not absolute; indeed, a

 “presumption is just that” and may therefore be rebutted).

       On September 30, 2016, the United States District Court for

 the District of New Jersey adopted Local Civil Rule 5.3, entitled

 “CONFIDENTIALITY       ORDERS   AND    RESTRICTING   PUBLIC    ACCESS     UNDER

 CM/ECF,” which sets forth the relevant procedural rules for filing

 documents under temporary seal by parties and which empowers the

 Court to permanently seal documents.



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       Fed. R. Civ. P. 26(c) provides, in relevant part, that a court

 may “for good cause shown, issue an order to protect a party or

 person from annoyance, embarrassment, oppression, or undue burden

 or expense[.]”

       Plaintiff Strike 3 Holdings, LLC has consented to the entry

 of this Protective Order.

       Accordingly, for the reasons set forth by the District Court,

 and for the foregoing reasons,

       IT IS HEREBY ORDERED this ___ day of July 2020 that plaintiff

 shall   not    publicly   disclose    any    information      identifying    the

 defendant and/or any person associated with the defendant or IP

 address, including, but not limited to, alleged social media

 evidence      and   alleged   BitTorrent          activity,   absent     express

 permission by this Court; and it is further

       ORDERED that plaintiff shall attach a copy of this Order along

 with the attached “Notice to Defendant” and “Anonymous Pro Se

 Defendant     Information”    form   to     any    ISP   subpoena   or   Amended

 Complaint served in this matter; and it is further

       ORDERED that, in the event the defendant elects to (1) proceed

 anonymously, (2) files a motion to quash or otherwise modify the

 subpoena on the ISP, and (3) files an Anonymous Pro Se Defendant

 Form, the Clerk of the Court shall not file the Anonymous Pro Se

 Defendant Information form on the public docket, but shall file

 that information under temporary seal until otherwise ordered by

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 the Court.       The Clerk shall file a redacted version of the

 Anonymous Pro Se Defendant Information form on the public docket,

 removing all information entered by the defendant; and it is

 further

       ORDERED    that   plaintiff      is    prohibited    from   initiating,

 directly    or   indirectly,     any    settlement      communications    with

 defendant (or any person associated with defendant or the IP

 address), unless (1) that party is represented by counsel and (2)

 their counsel initiates settlement discussions.               On request of

 plaintiff or an unrepresented party, submitted to the Court at any

 time, settlement shall be conducted under supervision of the Court.

 This paragraph shall not prevent plaintiff from responding to a

 request for settlement communications from a represented party,

 and the parties may engage in settlement negotiations without court

 supervision if both are represented by counsel; and it is further

       ORDERED that plaintiff shall only identity defendant, and/or

 any person associated with defendant or the IP address, with an

 appropriate “Doe” pseudonym in the captions of amended pleading(s)

 and any documents filed publicly with the Court; and it is further

       ORDERED that all documents identifying the defendant and/or

 any person associated with the              defendant   or the IP address,

 including alleged social media evidence and alleged BitTorrent

 activity, shall only be filed in redacted form, with unredacted



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Case 1:19-cv-00895-NLH-JS
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 versions filed under temporary seal, pursuant to L. Civ. R. 5.3(c);

 and it is further

       ORDERED that, unless the parties agree otherwise, plaintiff

 shall    have    primary    responsibility      for    filing     a   single,

 consolidated motion on behalf of all the parties to permanently

 seal documents filed under temporary seal, pursuant to L. Civ. R.

 5.3(c); and it is further

       ORDERED that for purposes of calculating the deadline to file

 a   single   consolidated     motion    on   behalf   of   the   parties    to

 permanently seal the Amended Complaint, Civil Cover Sheet, Proof

 of Service, and/or Waiver of Service in this matter, such motion

 shall be filed within fourteen (14) days of the expiration of the

 deadline to answer, move, or otherwise respond to the Amended

 Complaint; and it is further

       ORDERED that if the defendant (and/or any person associated

 with the defendant or IP address) declines, or does not respond to

 requests, to join in the motion to seal the Amended Complaint,

 Civil Cover Sheet, Proof of Service, and/or Waiver of Service in

 this matter by providing an affidavit, declaration, certification

 or other document of the type referenced in 28 U.S.C. § 1746, based

 on personal knowledge, describing with particularity the factors

 outlined L. Civ. R. 5.3(c)(3), plaintiff shall promptly notify the

 Court and request a determination of whether the documents should

 nevertheless be permanently sealed; and it is further

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       ORDERED that after defendant is served with process (or waives

 service of process), the parties shall meet-and-confer prior to

 the Rule 26(f) conference to discuss submission to the Court of

 (1) a proposed Discovery Confidentiality Order (“DCO”) and (2) a

 proposed Electronically Stored Information (“ESI”) Protocol.               See

 L. Civ. R. 26.1(d); and it is further

       ORDERED for good cause the Court reserves the right to amend

 or supplement this Order.


                                     _____________________________
                                     JOEL SCHNEIDER
                                     United States Magistrate Judge




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                                NOTICE TO DEFENDANT

       1.    You are a defendant in the above-captioned case Strike

 3 Holdings, LLC, v. John Doe                Subscriber Assigned IP Address

 76.116.95.148, Dkt. No. 1:19-cv-00895-NLH-JS, a case now pending

 before the Honorable Noel L. Hillman, U.S.D.J., and Joel Schneider,

 U.S.M.J. of the United States District Court for the District of

 New Jersey, Camden Vicinage.

       2.    A   copy    of   the   Court’s    order   setting   forth   certain

 deadlines and procedures related to this case is attached.

       3.    You may hire a lawyer to represent you in this case or

 you may proceed pro se (that is, you may represent yourself without

 the assistance of a lawyer).            If you choose to proceed pro se,

 please be advised that all communications with the Court should be

 directed through the Clerk of the Court.              A copy of the Court’s

 Procedural      Guide    for     Pro   Se    Litigants   is     available   at:

 https://www.njd.uscourts.gov/sites/njd/files/ProSeGuide.pdf.

 (“Pro Se Guide”).

       4.    The plaintiff in this case has filed a lawsuit claiming

 that you have illegally downloaded and/or distributed movies by

 using an Internet Protocol address (“IP address”) assigned to you

 by your Internet Service Provider (“ISP”).

       5.    The plaintiff may not know your actual name or address,

 but it does know the IP address it alleges is associated with the

 alleged downloading and/or distribution of the movies.

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Case 1:19-cv-00895-NLH-JS
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       6.    Although the Court has permitted plaintiff to serve a

 subpoena on your ISP to ascertain your identity, this does not

 mean that plaintiff has proven its claim against you.

       7.    If you do not want your ISP to provide this information

 to the plaintiff and you believe there is a legal basis for the

 ISP to withhold the information, you may file a motion to “quash”

 or “modify” the subpoena.         This must be done within 30 days of the

 date that you receive notice of the subpoena from your ISP.                      This

 motion must be filed with the Clerk of the Court.                   See L. Civ. R.

 5.2(4); 7.1(d).      You must also serve plaintiff’s counsel with a

 copy of the motion.         See Fed. R. Civ. P. 5.                 The plaintiff’s

 counsel in this matter is registered as an Electronic Case Filing

 (“ECF”) Filing User and, therefore, has consented to receive

 service of all papers via the Court’s ECF System.                   See L. Civ. R.

 5.2(14)(b)(1).       You    may   also       register   to   receive       documents

 concerning    this   case    electronically        using     the    “Pro    Se   (Non

 Prisoner)    Consent    &   Registration        Form    to   Receive       Documents

 Electronically” Form contained in the Pro Se Guide.

       8.    If you move to quash the subpoena, or otherwise move to

 prevent your name from being turned over to the plaintiff, you may

 proceed anonymously at this           time.       Nevertheless, if you are

 representing yourself, you must complete the “Anonymous Pro Se

 Defendant Information” form attached to this notice and file it

 with the Clerk of the Court.             You should not provide a copy of

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 this form to plaintiff’s attorney or file it on the public docket.

 This information is solely for use by the Court and the Court will

 not provide this information to plaintiff’s attorney unless and

 until it determines there is no basis to withhold it.              The Court

 must have this information so that it may communicate with you

 regarding the case.

       9.     Even if you do not file a motion to quash or modify the

 subpoena, you may still proceed in this case anonymously at this

 time.      This means that the Court and the plaintiff will know your

 identity and contact information, but your identity will not be

 made public unless and until the Court determines there is no basis

 to withhold it.

       10.    The Court has entered a Protective Order in this matter

 that prevents plaintiff from publicly identifying you, or any

 person associated with you, other than in connection with pursing

 its claim in this matter.        Plaintiff is further required to file

 all documents identifying you, or any person associated with you,

 under a “temporary” seal, subject to “permanent” sealing by this

 Court.     See L. Civ. R. 5.3(c).

       11.    Since the public has a presumptive right to access

 documents filed on the Court’s docket, the Court must make a

 determination whether to permanently seal any documents filed with

 the Court based on a weighing of factors, specifically:

            a. The nature of the materials or proceedings at issue;

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           b. The legitimate private and public interest which warrant
              the relief sought;

           c. The clearly defined and serious injury that would result
              if the relief sought is not available;

           d. Why a less restrictive alternative to the relief sought
              is not available;

           e. Any prior order sealing the same materials in the pending
              action; and

           f. The identity of any party or nonparty known to be
              objecting to the sealing request.

       12.   Although the Court has ordered plaintiff to be primarily

 responsible for preparing the motion papers to request permanent

 sealing of documents, this Court’s local rules require the above-

 factors     be   set   forth    with      particularly     in     an   affidavit,

 declaration,      certification      or     other    document     of    the    type

 referenced in 28 U.S.C. § 1746, which must be made by a person

 with personal knowledge.        L. Civ. R. 5.3(c)(3).

       13.   Accordingly,       if   you     wish    to   defend    this       matter

 anonymously after plaintiff receives your identity from your ISP,

 you (or, if represented, your lawyer) should contact plaintiff’s

 counsel to assist in preparing such a document.                        Plaintiff’s

 attorney’s contact information is:

             John C. Atkin, Esq.
             The Atkin Firm, LLC
             55 Madison Avenue, Suite 400
             Morristown, NJ 07960
             Tel: (973) 314-8010
             Fax: (833) 693-1201
             JAtkin@AtkinFirm.com
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Case
 Case1:19-cv-00895-NLH-JS
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       14.   The Court has ordered that, if you decline to contact

 plaintiff’s     counsel    or   assist    in   the   preparation   of   such   a

 document, plaintiff must promptly notify the Court and request a

 determination of whether any documents filed with the Court should

 nevertheless be permanently sealed.

       15.   The Court has ordered that plaintiff may not initiate

 any settlement negotiations with you.            If you are represented by

 counsel and you wish to discuss settlement of this matter, your

 attorney may initiate settlement negotiations with plaintiff.                  If

 you are not represented by counsel and wish to discuss settlement

 of this matter, the parties may discuss settlement only under the

 supervision of the Court.




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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

 STRIKE 3 HOLDINGS, LLC,       :
                               :
                Plaintiff,     :
                               :
      v.                       :             Civil No. 19-00895 (NLH/JS)
                               :
 JOHN DOE SUBSCRIBER ASSIGNED :
 IP ADDRESS 76.116.95.148,     :
                               :
                Defendant.     :
 ______________________________:

                  Anonymous Pro Se Defendant Information




 Name:              _________________________

 Address:           _________________________

                    _________________________

 Phone:             _________________________

 Email:             _________________________




 Signature:         _________________________

 Dated:             _________________________




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